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                      UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA


SEB INVESTMENT MANAGEMENT AB,
Individually and on Behalf of All Others
Similarly Situated,                        Civ. A. No. 2:17-CV-3711-TJS

                    Plaintiff,
                                           ORAL ARGUMENT REQUESTED
      v.

ENDO INTERNATIONAL PLC; ENDO
HEALTH SOLUTIONS INC.; PAUL V.
CAMPANELLI; BLAINE T. DAVIS;
MATTHEW W. DAVIS; RAJIV KANISHKA
LIYANAARCHCHIE DE SILVA; IVAN
GERGEL; SUSAN HALL; DAVID P.
HOLVECK; ALAN G. LEVIN; JULIE H.
MCHUGH; SUKETU P. UPADHYAY;
DANIEL A. RUDIO; ROGER H. KIMMEL;
SHANE M. COOKE; JOHN J. DELUCCA;
ARTHUR J. HIGGINS; NANCY J. HUTSON;
MICHAEL HYATT; WILLIAM P.
MONTAGUE; JILL D. SMITH; and
WILLIAM F. SPENGLER,

                    Defendants.



   REPLY MEMORANDUM OF LAW IN FURTHER SUPPORT OF DEFENDANTS’
            MOTION TO DISMISS THE AMENDED COMPLAINT
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                                     Preliminary Statement

       Plaintiff’s opposition brief thoroughly underscores the Amended Complaint’s fatal flaws.

       First, Plaintiff all but ignores the argument that its Securities Act claims should be

dismissed under Colorado River as duplicative of the previously-filed Securities Act claims in

the MissPERS case. Its halfhearted effort to distinguish the two cases on the grounds that they

challenge different statements in the same offering documents only highlights that Plaintiff is

attempting to split one claim by the same plaintiff class into two cases in two courts. This is

precisely the type of “piecemeal litigation” that Colorado River disfavors.

       Second, Plaintiff still fails to adequately allege that any statement was false at the time it

was made. It denies that the Amended Complaint constitutes impermissible “puzzle pleading”

but fails to unpack or decipher its multi-layered cross-references. Plaintiff does not even try to

explain how any statement by any of the Exchange Act Individual Defendants was false,

effectively conceding that the individuals should be dismissed. Plaintiff devotes over 20 pages

to arguing that it has pled “contemporaneous” facts but does not cite a single fact demonstrating

falsity. And Plaintiff’s arguments about forward-looking statements, opinions, and puffery at

best show a misunderstanding of the law.

       Third, Plaintiff still points to no facts establishing scienter as to any Defendant. Instead,

it relies on generic and oft-rejected arguments based on Defendants’ theoretical “access” to

information contrary to public statements, “core operations,” and the “duration” of the alleged

fraud, none of which raise any inference of scienter.

       Plaintiff has utterly failed to state a claim. The Amended Complaint should be dismissed.




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                                            Argument

I.     THE SECURITIES ACT CLAIMS SHOULD BE DISMISSED UNDER
       COLORADO RIVER

       Defendants’ opening brief established that Plaintiff’s Securities Act claims should be

dismissed under Colorado River because the MissPERS case—which is now in discovery—

alleges misstatements in the exact same offering documents on behalf of the exact same plaintiff

class. (Mot. at 10-13.)1 Plaintiff has almost nothing to say in response. It waits until page 42 of

its brief to address this issue, and then offers no precedent in which any court has allowed a

single class of plaintiffs to split a Securities Act claim in this way. Its “argument” amounts to an

unsupported incantation that the two cases “are not sufficiently similar.” (Opp. at 43.)

       Colorado River “does not” require that two proceedings “be identical, but rather

substantially similar.” Robinson v. Ruiz, 772 F. Supp. 212, 214 (D. Del. 1991). The only

supposed difference cited here is that this case challenges statements in the offering documents

concerning “the abuse-deterrent properties of Reformulated Opana ER” but MissPERS

challenges statements concerning “adverse trends in sales” and the “unsustainable business

practice of ‘trade loading’” in Endo’s “generic division.” (Opp. at 44.) What facts could more

clearly evidence an attempt by a plaintiff class inappropriately to split a cause of action—the

same class pursuing liability based on different alleged misstatements in the same offering

documents (Endo’s June 2015 stock offering documents) for the same damages, based on a stock

price decline supposedly resulting from those misstatements? (¶ 265; Mot. Ex. 1 ¶¶ 86-97, Ex. 2




1
 On April 9, 2018, the Chester County court denied Defendants’ preliminary objections and the
case is proceeding. Pub. Emps.’ Ret. Sys. of Miss. v. Endo Int’l PLC, No. 2017-02081-MJ (Pa.
Ct. Com. Pl. Apr. 9, 2018) (order overruling preliminary objection to amended class action
complaint).

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¶¶ 99-110.) There is no reason this claim should not be brought in the same case. This is exactly

the sort of “piecemeal litigation” that Colorado River forbids. (Mot. at 12 (citing cases).)

       Plaintiff mentions in a footnote (Opp. at 46 n.26)—but does not actually address—the

duplicative discovery that would result from such piecemeal litigation, as the same defendants

would need to provide the same document discovery and sit for depositions to answer the same

questions about the offering process and offering documents twice. This makes no sense. See

Mouchantaf v. Int’l Modeling & Talent Ass’n, 368 F. Supp. 2d 303, 307 (S.D.N.Y. 2005) (“the

avoidance of piecemeal or purely duplicative litigation and the concomitant waste of judicial

resources” was “[t]he predominant concern expressed in Colorado River”). The Securities Act

claims in this case should be dismissed in favor of those already proceeding in MissPERS.

II.    PLAINTIFF ALLEGES NO FALSE OR MISLEADING STATEMENTS

       A.      The Amended Complaint’s “Puzzle Pleading” Defects Are Fatal

       Defendants’ opening brief establishes that the Amended Complaint—with its 394

paragraphs of cross-references stacked on other cross-references—is precisely the sort of “puzzle

pleading” that courts roundly reject. (Mot. at 15-17.) Plaintiff again has almost nothing to say.

       Plaintiff tries to skirt the issue by asserting that Defendants “had no difficulty

understanding” their allegations. (Opp. at 47.) This rhetorical gambit fails. Plaintiff’s

opposition brief for the first time groups the dozens of statements it challenges into three

categories: the abuse-deterrent properties of reformulated Opana ER, trends in intravenous

abuse, and comparisons to OxyContin. (Id. at 11, 15, 17.) But this is not remotely apparent from

the Amended Complaint, which asserts six different categories of alleged “false[] reassur[ances]”

over 25 paragraphs (¶¶ 114-36) and then groups more than 100 paragraphs of alleged

misstatements by year, not by subject matter. (¶¶ 157-263.) Plaintiff’s own assertion that

Defendants “[f]undamentally misunderstand[] Plaintiff’s allegations” (Opp. at 35) only

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underscores this point, as does Plaintiff’s unexplained “Exhibit A,” which does not cite to any

allegation in the Amended Complaint.

       Plaintiff fails to cite a single case finding sufficient a complaint that—like the Amended

Complaint here—uses multiple layers of cross-references to try to plead a misstatement.

Defendants have cited ample case law rejecting similar complaints. (Mot. at 15-17 (citing

cases).) The Amended Complaint should suffer the same fate.

       B.      No Exchange Act Individual Defendant Made a False Statement

       Plaintiff does not even try to argue that any of the Exchange Act Individual Defendants’

statements was false. Plaintiff’s brief mentions them only once by name—in a footnote that

offers no such explanation. (Opp. at 32 n.19.) There is no basis whatsoever to maintain a claim

against these individuals. They should be dismissed from the case for this reason alone.

       C.      Plaintiff Establishes No False Statements By Any Defendant

       The Third Circuit has “long rejected attempts to plead fraud by hindsight.” Cal. Pub.

Emps.’ Ret. Sys. v. Chubb Corp., 394 F.3d 126, 158 (3d Cir. 2004). Plaintiff asserts over and

over again that the allegations of misstatements are based on “contemporaneous” data. (See

Opp. at 2, 10-13, 14 n.9, 17; see also id. at 18 (“data pre-dating the Class Period”); id. at 19

(“Endo . . . receive[d] and rel[ied] upon this data during the Class Period”); id. at 23 (data

received “prior to and during the Class Period”).) But Plaintiff does not actually identify or

quote any specific data showing that a statement was false at the time it was made.

       Plaintiff does not explain how charts prepared in 2016 and 2017 (Mot. at 19-20) can

show that statements as early as 2012 were false. The bare assertion that these charts are based

on unspecified “data” in 2012 and 2013 is misguided. The paragraphs of the Amended

Complaint that Plaintiff cites for this argument (Opp. at 19 (citing ¶¶ 88, 99)) simply refer to

unspecified “reports” that Endo supposedly received—but no facts establish that those reports

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contain the same “data” that is reflected in the 2016 and 2017 charts. In any case, vague

references to “data” and “reports” do not establish a false statement under the PSLRA and Third

Circuit law, which requires plaintiffs to “identify who authored the alleged report, when it was

authored, who reviewed the report, and what data its conclusions were based upon.” Chubb, 394

F.3d at 147.

       Similarly, Plaintiff continues to rely on “studies.” (Opp. at 12.) But Defendants’ opening

brief established that the Amended Complaint alleges virtually no facts about these studies—not

the authors, methodologies, data, or conclusions—as expressly required in Chubb. (Mot. at 20-

21.) Plaintiff’s only response is in a footnote that also does not provide this information, but

instead makes the irrelevant argument that the “studies” were contemporaneous. (Opp. at 14

n.9.) This misses the point. Not only do that footnote and the Amended Complaint fail to

establish when these studies were created, but, as importantly, they also fail to allege anything

meaningful about their contents. This also requires dismissal. (Mot. at 21 (citing cases).)2

       D.      The Challenged Statements Are Inactionable as Opinions, Puffery, and
               Forward-Looking Statements

               1.      The Statements Of Opinion Are Not Actionable

       Plaintiff argues that Defendants’ opinions and subjective interpretations of data are

actionable because they “contained embedded factual representations or Defendants did not

honestly hold the purported opinion expressed.” (Opp. at 28 (emphasis added).) That is not the


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  In any case, Plaintiff merely contends that the failure to disclose the “studies” in 2013 was
problematic given that the FDA noted a “troubling possibility” that reformulated Opana ER had
higher rates of intravenous abuse. (Opp. at 13 (citing ¶ 111).) This salvages no claim. There is
no connection between the FDA’s concern and the “studies” cited in the Amended Complaint.
(See ¶¶ 109-12.) Plaintiff also cites no law requiring companies to disclose a mere “possibility.”
See Oran v. Stafford, 226 F.3d 275, 283 (3d Cir. 2000) (statements regarding medication were
not misleading where FDA stated potentially problematic data was not conclusive); In re
CDNOW, Inc. Sec. Litig., 138 F. Supp. 2d 624, 635-36 (E.D. Pa. 2001) (“speculative”
information immaterial as a matter of law).

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law. To be actionable, statements of opinion must be both objectively false (e.g., incorrect) and

subjectively false (e.g., the speaker did not believe them). (Mot. at 22-23 (citing cases).)

       Plaintiff alleges neither. No statements (including any so-called “embedded factual

representations”) were objectively false for the reasons above. And Plaintiff does not allege a

single fact about any Defendant that could possibly show their subjective belief. Such a showing

is especially difficult where, as here, claims are based on differing interpretations of complex

scientific data. See City of Edinburgh Council v. Pfizer, Inc., 754 F.3d 159, 170 (3d Cir. 2014)

(disagreement within a company regarding data interpretation “is not sufficient to show

defendants’ interpretation lacked a reasonable basis”); Gillis v. QRX Pharma Ltd., 197 F. Supp.

3d 557, 598 (S.D.N.Y. 2016) (“That the FDA . . . ultimately disagreed with defendants’

interpretation of the data does not render their subjective assessments false or misleading”).

Plaintiff’s theory that the opinions are actionable as omissions (Opp. at 27-28) is also without

support because an opinion is not misleading simply if, as Plaintiff argues, a defendant “knows,

but fails to disclose, some fact cutting the other way” because “reasonable investors understand

that opinions sometimes rest on a weighing of competing facts[.]” Martin v. Quartermain, ---

Fed. App’x ----, 2018 WL 2024719, at *3 (2d Cir. May 1, 2018) (quotation omitted).

               2.      The Statements Of Puffery Are Not Actionable

       Plaintiff argues that the Court cannot grant the motion to dismiss based on puffery

because “Defendants do not dispute that the subject matter of the alleged misstatements is

material.” (Opp. at 24.) Plaintiff again misunderstands the law. As the Third Circuit has

explained, “[m]aterial representations must be contrasted with statements of subjective analysis

or extrapolations, such as opinions, motives and intentions, or general statements of optimism”

constituting puffery. In re Aetna, Inc. Sec. Litig., 617 F.3d 272, 283 (3d Cir. 2010) (citation

omitted). Plaintiff’s attempt to turn general optimistic statements into material misstatements

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would void the law on puffery. In any case, Plaintiff’s argument assumes that it has pled facts

establishing that these statements were false—but, as explained above, it has not.

               3.      The Forward-Looking Statements Are Not Actionable

       Plaintiff argues that statements that Endo “will hopefully” and “expect[s]” to receive

FDA approval for abuse-deterrent labeling are not forward-looking because they are statements

of existing fact. (Opp. at 20-21.) This is wrong. The PSLRA safe-harbor expressly immunizes

predictions of the future, which these statements plainly were. Rejecting a similar argument, one

court explained:

       [T]o the extent the [complaint] challenges [defendant’s] statement that QRX was
       “confident that [the] refiled NDA [would] confirm the validity of the data
       defining the product’s respiratory safety advantages,” that statement is shielded
       by the PSLRA safe harbor. It is forward-looking and the [complaint] does not
       adequately allege that it was made with actual knowledge . . . that [it was] false or
       misleading.

Gillis, 197 F. Supp. 3d at 599 (citations omitted) (fourth, fifth, and seventh alterations

original). The same conclusion is warranted here.3

III.   PLAINTIFF DOES NOT ESTABLISH A “STRONG INFERENCE” OF
       SCIENTER

       Plaintiff’s opposition brief all but concedes that it has no facts demonstrating scienter. It

does not identify a single fact showing that any Defendant—and certainly none of the Exchange

Act Individual Defendants—intentionally misled investors. There are none of the hallmarks of a

viable scienter allegation—for instance, no facts showing that any Defendant actually was aware

of facts contrary to public statements, no facts showing that any Defendant willfully ignored


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  Plaintiff asserts that the accompanying cautionary language was insufficiently specific. (Opp.
at 22.) This is mistaken. The cautionary statements directly addressed Plaintiff’s underlying
allegation that Defendants’ statements to the market exaggerated the likelihood of securing FDA
approval. See Fort Worth Emps.’ Ret. Fund v. Biovail Corp., 615 F. Supp. 2d 218, 231-33
(S.D.N.Y. 2009) (holding disclosures about the uncertainty of FDA approvals satisfied safe
harbor despite absence of specific disclosures about risks to approval).

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facts available to him or her, and no insider stock sales that could provide a motive. See Winer

Family Tr. v. Queen, 503 F.3d 319, 332 (3d Cir. 2007) (“[Plaintiff] failed to adequately plead

scienter by failing to link the declarant of the challenged statement with facts that might

contradict his statement.”); In re PDI Sec. Litig., No. 02-Civ-0211 (GEB), 2006 WL 3350461, at

*16 (D.N.J. Nov. 16, 2016) (“the fact that Defendants did not sell a single share of their own

stock during the Class Period effaces Plaintiffs’ assertions about Defendants’ motives.”).

       Unable to cite any facts, Plaintiff’s opposition brief tries to base scienter on a series of

roundly rejected generic scienter theories. It begins by asserting that scienter can be established

by Defendants’ theoretical “access” to data contrary to public statements. (Opp. at 32-35.) This

fails. It is not enough to show that Defendants potentially had access to information; a plaintiff

must show actual access to the specific information rendering the alleged misstatements false or

misleading. See Oran, 226 F.3d at 290 (“Plaintiffs did not aver which officer-defendants, if any,

were aware of the Mayo data prior to its public release. Nor have they made any allegations

regarding individual knowledge or recklessness with respect to the European data. Therefore,

plaintiffs cannot meet the heightened pleading requirements” regarding scienter) (emphasis

added); In re Radian Sec. Litig., 612 F. Supp. 2d 594, 608 (E.D. Pa. 2009) (“Bare allegations that

the defendants ‘knew’ or ‘must have known’ that statements were fraudulent are insufficient.”).4

In any event, this argument defies common sense. There is no reason to believe that—and

Plaintiff certainly alleges no facts explaining why—a financial executive, for example, would



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 Actual access must be shown, otherwise scienter could be imputed to every executive at every
company simply by virtue of job title. That is not the law. See Fain v. USA Techs., Inc., 707 F.
App’x 91, 96 (3d Cir. 2017) (“We have noted before the difficulty of establishing a ‘they-must-
have-known’ type inference such as this. That Defendants were in top positions . . . alone, is not
enough.”) (citation omitted); Plumbers & Steamfitters Local 773 Pension Fund v. Canadian
Imperial Bank of Commerce, 694 F. Supp. 2d 287, 300 (S.D.N.Y. 2010) (“accusations founded
on nothing more than a defendant’s corporate position are entitled to no weight”).

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have access to detailed scientific data. Nor is there any basis to conclude that Defendants

employed by Endo for a fraction of the alleged class period would have access to information

outside their employment period (Mot. at 29 n.17)—and Plaintiff makes no effort to explain who

had access to what information or when.

       Plaintiff next trots out the “core operations” theory of scienter, which also fails. (Opp. at

36-38.) As an initial matter, this theory’s validity is, at best, uncertain. See In re Heartland

Payment Sys., Inc. Sec. Litig., No. Civ. 09-1043, 2009 WL 4798148, at *7 (D.N.J. Dec. 7, 2009)

(noting that “core business doctrine” does not “establish a rule of law”); In re Stonepath Grp.,

Inc. Sec. Litig., No. Civ.A. 04-4515, 2006 WL 890767, at *12 (E.D. Pa. Apr. 3, 2006) (given

Third Circuit precedent, “caution is not simply prudent, it is required” when imputing knowledge

of core activities). To the extent the theory may have validity, it allows plaintiffs—in limited

circumstances—to plead scienter through “the combination of an officer’s position within the

company and fraud allegations related to the corporation’s core business.” In re NutriSystem,

Inc. Sec. Litig., 653 F. Supp. 2d 563, 575 (E.D. Pa. 2009). But it still requires facts. “[C]ore

operations” allegations fail where, as here, plaintiffs do not plead facts establishing that

defendants, by virtue of their positions, were “consciously involved” in the fraud or that the

product at issue was responsible for “nearly all of a company’s business.” See Tyler v. Liz

Claiborne, Inc., 814 F. Supp. 2d 323, 343 (S.D.N.Y. 2011) (sales representing 16% of

company’s business not sufficiently “core”); In re Am. Bus. Fin. Servs., Inc. Sec. Litig., 413 F.

Supp. 2d 378, 403 (E.D. Pa. 2005) (“core operations” inapplicable where plaintiffs did not “meet

their burden of alleging facts that the individual defendants’ positions were such that they were

consciously involved in a scheme to defraud investors”). None of these allegations are—or

could be—made here as to any defendant.



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       In a last-gasp effort to establish scienter, Plaintiff argues that the duration of the alleged

fraud somehow supports scienter. (Opp. at 40.) This is similarly unavailing. That Plaintiff has

tried to allege a long class period does not, without a great deal more, raise any inference of

scienter—it takes more facts, not fewer, to establish a lengthy fraud. See In re PXRE Grp., Ltd.,

Sec. Litig., 600 F. Supp. 2d 510, 545 (S.D.N.Y. 2009) (“[I]t is well established that the size of the

fraud alone does not create an inference of scienter.”) (quotation omitted). Even the cases

Plaintiff cites for this proposition do not base a finding of scienter on the length of the class

period but on the factual bases for concluding that a fraud occurred in the first place. (Opp. at 40

(citing In re: Enzymotec Sec. Litig., No. 14-5556 (JLL) (MAH), 2015 WL 8784065, at *18

(D.N.J. Dec. 15, 2015) (finding “[m]ost compelling” scienter allegations to be “unusual” stock

sales “for significant personal financial gain”); In re Genworth Fin. Inc. Sec. Litig., 103 F. Supp.

3d 759, 785 (E.D. Va. 2015) (defendants had “intimate” and “personal” involvement with the

alleged fraud); In re Pall Corp., No. 07-CV-3359, 2009 WL 3111777, at *8 (E.D.N.Y. Sept. 21,

2009) (confidential informants detailed defendants’ involvement in the alleged fraud); In re

Rent-Way Sec. Litig., 209 F. Supp. 2d 493, 516 (W.D. Pa. 2002) (defendants “knowingly took

advantage” of lack of controls and “directed accounting personnel to make false accounting

entries” ).) There is no such factual basis here.

                                             Conclusion

       For the reasons set forth above and in Defendants’ brief in support of their motion to

dismiss, this Court should dismiss the Amended Complaint, without leave to amend.




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                                     Respectfully submitted,

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